      Case 1:14-cr-00038-SPW Document 606 Filed 10/23/15 Page 1 of 2



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION



UNITED STATES OF AMERICA,
                                                 CR 14-38-BLG-SPW-08
                    Plaintiff,

vs.                                              OPINION and ORDER

GERARDO LOPEZ MARTINEZ,

                    Defendant.

      Before the Court is Defendant Gerardo Lopez Martinez's Motion for

Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 782 to the

United States Sentencing Guidelines. Since the Defendant was sentenced after the

Sentencing Commission enacted Amendment 782, he is not eligible for a

reduction.

      Amendment 782 reduced the base offense levels for certain drug crimes by

two levels. The amendment became effective on November 1, 2014. See

Historical Note, U.S.S.G. § 2Dl.l. The Defendant was sentenced on April 30,

2015. Accordingly, the base offense levels in U.S.S.G. § 2Dl.1 had already been

lowered by the time the Defendant was sentenced. In other words, the Defendant

has already benefited from the two-level reduction.




                                         1
       Case 1:14-cr-00038-SPW Document 606 Filed 10/23/15 Page 2 of 2



      By illustration, the Court will show why the Defendant is not entitled to a

reduction. The Court attributed 453.6 grams of pure methamphetamine to the

Defendant and placed him at a base offense level of 32. Statement ofReasons

(Doc. 498) at 1. That is the same base offense level for between 150 grams and

500 grams of pure methamphetamine under the post-Amendment 782 guidelines.

U.S.S.G. § 2Dl.l(c)(4). The relevant guidelines have not been changed since the

Defendant's sentencing.

      Motions to reconsider will not be entertained. See D. Mont. L.R. CR 47; cf

L.R. 7.3(b). If the Defendant believes the reduction should apply, the only recourse

is to appeal this decision.

      Accordingly, IT IS HEREBY ORDERED that Defendant's motion to reduce

the sentence based on Amendment 782 (Doc. 601) is DENIED.



      DATED this~day of October, 2015. ;)

                                             ~r~W~
                                             SUSANP. WATTERS
                                             United States District Judge




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